

Matter of Lee (2022 NY Slip Op 03045)





Matter of Lee


2022 NY Slip Op 03045


Decided on May 5, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:May 5, 2022

PM-98-22
[*1]In the Matter of Inez Lee, an Attorney. (Attorney Registration No. 2886604.)

Calendar Date:May 2, 2022

Before:Lynch, J.P., Clark, Aarons, Colangelo and McShan, JJ.

Inez Lee, Manassas, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Inez Lee was admitted to practice by this Court in 1998 and lists a business address in Manassas, Virginia with the Office of Court Administration. Lee now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Lee's application.
Upon reading Lee's affidavit sworn to February 26, 2022 and filed March 1, 2022, and upon reading the April 25, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Lee is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Lynch, J.P., Clark, Aarons, Colangelo and McShan, JJ., concur.
ORDERED that Inez Lee's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Inez Lee's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Inez Lee is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Lee is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Inez Lee shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








